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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                       FORT MYERS DIVISION


LUKE “UKE” LAJQI,
                                           CASE NO.:
      Plaintiff,
v.

THOMAS PEPE,                              COMPLAINT AND JURY DEMAND

           Defendant.


      Plaintiff, LUKE LAJQI, sues Defendant, THOMAS PEPE, for

damages and injunctive relief, and states and alleges as follows:

      1.    Plaintiff, LUKE “UKE” LAJQI (“UKE”) is a natural person who

is a citizen of the State of New Jersey.

      2.    Defendant, THOMAS PEPE (“PEPE”) is a natural person who

is a citizen of the State of Florida. PEPE’s last known address was 1113

Sterling Point Place, Gulf Breeze, Florida.

      3.    Personal Jurisdiction is proper over the Defendant on the

grounds that he is domiciled within the state.

      4.    Venue in the United States District Court, Middle District of

Florida, is proper on the grounds that it is where a substantial part of

the events or omissions giving rise to the complaint occurred.




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      5.   Jurisdiction is proper pursuant to 28 USC 1332 on the

grounds that Plaintiff and Defendant are citizens of different states and

the amount in controversy exceeds $75,000.

      6.   PEPE is the son of Eugenio Pepe, who died in Lee County,

Florida, on December 30, 2020.

      7.   On October 4, 2021, PEPE was appointed as personal

representative of the Estate of Eugenio Pepe. There is currently a probate

administration action pending in Lee County entitled In RE: Estate of

Eugenio Pepe, C.A. No.: 21-CP-1212 (the “Estate Administration Action”)

      8.   Thereafter, on or about May 3, 2022, UKE and PEPE entered

into a contract for purchase and sale of real property located in Lee

County, Florida, belonging to the Estate of Eugenio Pepe.

     9.    UKE and PEPE entered into an addendum to the Contract

that made it the “buyer’s obligation to purchase the Estate of Eugene

Pepe” contingent upon “court probate approval.”

     10.   However, on May 19, 2022, Defendant repudiated the

contract and refused to close on the transaction.

     11.   PEPE’s refusal to close on the purchase led to the filing of a

civil action for specific performance and damages entitled Uke Lajqi v.

Thomas Pepe, as Personal Representative of the Estate of Eugenio Pepe,

Lee County C.A. 22-CA-3265 (the “Specific Performance Action”).


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      12.   In response to the filing of the Specific Performance Action,

PEPE filed a motion in the Estate Administration Action for authorization

to sell the Property to a different party.

      13.   Later, PEPE, for reasons known only to PEPE, resigned as

personal representative of the Estate of Eugenio Pepe.

      14.   Subsequent to his resignation as personal representative,

PEPE began a campaign of harassment and intimidation against UKE.

      15.   The aforementioned harassment and intimidation campaign

included, but is not limited to:

            a.    Publishing false statements that UKE was committing

                  fraud and he was a criminal.

            b.    Posting statements on Facebook and other social media

                  platforms that falsely claimed UKE committed real

                  estate and bank fraud.

            c.    Posting photographs of UKE online with a caption

                  falsely suggesting that he had some part in murdering

                  Eugenio Pepe.

            d.    Using Facebook and LinkedIn to send messages to

                  friends and business contacts falsely stating that UKE

                  had committed fraud and criminal conduct.




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              e.    Sending messages to UKE’s mother telling her that her

                    son was about to be arrested for a criminal act.

      16.     As a result of the false statements about UKE made by PEPE,

UKE has suffered reputational damage and emotional distress.

      17.     Plaintiff has met all conditions precedent to the filing of the

instant action, or such conditions precedent have been waived and/or

excused.

                         Count I – Defamation Per Se

      18.     Plaintiff repeats and realleges paragraphs 1 through 17 of the

complaint as if set forth fully herein.

      19.     Defendant published the statements set forth in paragraph 15

above to third parties.

      20.     The statements by Defendant set forth in paragraph 15 above

were false.

      21.     The statements were with intentional, reckless, or negligent

disregard for as to the falsity of the statements.

      22.     Plaintiff suffered actual damages as a result of the false

statements.

      23.     The statements made by Defendant are defamatory to

Plaintiff.




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      WHEREFORE, Plaintiff respectfully requests that the court enter

judgment on Count I of the complaint, together with interest, costs,

punitive damages, and such other relief as the court deems just and

appropriate.

        Count II – Intentional Infliction of Emotional Distress

      24.    Plaintiff repeats and realleges paragraphs 1 through 17 of the

complaint as if set forth fully herein.

      25.    The harassment and intimidation campaign, detailed in

paragraph 15 above, was intended by Defendant to cause emotional

distress on the part of Defendant or was conducted with conscious

disregard of the risk of resulting emotional distress on the part of

Defendant.

      26.    The conduct set forth in paragraph 15 above was outrageous.

      27.    The conduct set forth in paragraph 15 caused severe

emotional distress.

      WHEREFORE, Plaintiff respectfully requests that the court enter

judgment on Count II of the complaint, together with interest, costs,

punitive damages, and such other relief as the court deems just and

appropriate.




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                           III – Injunctive Relief

      28.   Plaintiff repeats and realleges paragraphs 1 through 17 of the

complaint as if set forth fully herein.

      29.   Defendant continues to engage in defamation per se by virtue

of the harassment campaign set forth in paragraph 15.

      30    Plaintiff lacks an adequate remedy at law to address the

ongoing defamatory actions by Defendant.

      31.   Injunctive relief is needed to prevent irreparable harm to

Plaintiff by Defendant.

      WHEREFORE, Plaintiff respectfully requests that the court enter

preliminary and permanent injunctive relief precluding Defendant from

publishing false statements accusing Defendant of being a criminal and

committing fraud, award cost, attorney’s fees and such other relief as the

court deems just and appropriate.

                              JURY DEMAND

      Plaintiff demands a jury trial on all issues so triable.

      Dated this 22nd day of December, 2023.

                                           Respectfully submitted,

                                           MAHSHIE & DECOSTA, P.A.
                                           Attorneys for Plaintiff
                                           1560 Matthew Drive, Suite E
                                           Fort Myers, Florida 33907
                                           Telephone: (239) 931-7566


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                                          Facsimile: (239) 931-7560
                                          Primary:eservice@md-lawfirm.com
                                          Secondary: chris@md-lawfirm.com
                                                    paige@md-lawfirm.com

                                           /s/ Christopher DeCosta
                                          Christopher DeCosta, Esq.
                                          Florida Bar No.: 271410




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